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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-60085-CIV-COHN/STRAUSS

 JENNIFER PALEY,

        Plaintiff,

 vs.

 THE LAW OFFICES OF MITCHELL D.
 BLUHM & ASSOCIATES, LLC,

        Defendant.

 __________________________________/

                                ORDER REMANDING CASE

        THIS CAUSE is before the Court upon Plaintiff’s Unopposed Motion to Remand

 [DE 5] (“Motion”). The Court has reviewed the Motion, the record in this case, and is

 otherwise advised in the premises.

        Plaintiff originally filed this case in small claims court in Broward County, Florida,

 alleging statutory violations of the Florida Consumer Collection Practices Act (“FCCPA”)

 and a violation of § 1692c(a)(2) of the Fair Debt Collection Practices Act (“FDCPA”).

 Defendant removed the case to this Court on January 15, 2021. DE 1. In her Motion,

 Plaintiff argues that Defendant has failed to establish that Plaintiff has Article III standing

 because Plaintiff has alleged only a statutory violation. See Jenkins v. Simply

 Healthcare Plans, Inc., No. 20-22677-CIV, 2020 U.S. Dist. LEXIS 147433, at *4-5 (S.D.

 Fla. Aug. 17, 2020) (“as the removing party, [defendant] has the burden of establishing

 federal jurisdiction — including [plaintiff’s] standing.”). Defendant does not oppose

 the Motion. The Court agrees that remand is proper because Plaintiff’s allegations of a

 statutory violation are insufficient to invoke this Court’s jurisdiction. See id.
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        Accordingly, because the Court is without subject matter jurisdiction, this case

 must be remanded. It is therefore ORDERED AND ADJUDGED as follows:

        1.     Plaintiff’s Unopposed Motion to Remand [DE 5] is GRANTED;

        2.     The case shall be REMANDED to the County Court of the Seventeenth

 Judicial Circuit, in and for Broward County, Florida;

        3.     The Clerk of the Court is hereby directed to forward a certified copy of this

 Order to the Clerk of the County Court of the Seventeenth Judicial Circuit in and for

 Broward County, Florida, Case No. COCE-20-036790; and

        4.     The Clerk of the Court shall CLOSE this case and DENY all pending

 motions as MOOT.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 22nd day of January, 2021.




 Copies provided to counsel of record via CM/ECF




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